 Case: 5:05-cr-00056-CAB Doc #: 45 Filed: 11/02/06 1 of 3. PageID #: 184




                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION



UNITED STATES OF AMERICA,               )      CASE NO. 5:05CR056
               Plaintiff(s),            )
                                        )
                                        )      JUDGE CHRISTOPHER A. BOYKO
                                        )
             vs.                        )
                                        )
DANTE JONES,                            )
                                        )
                    Defendant(s).       )
                                        )      ORDER
                                        )



      On March 18, 2005, the Defendant, Dante Jones, entered a plea of guilty before
this Court to count one of an indictment charging him in violation of 21 §U.S.C. 846
Conspiracy to Possess With Intent to Distribute and To Distribute Cocaine and Cocaine
Base; Possession With Intent to Distribute Cocaine and Cocaine Base. Count two of the
indictment was dismissed upon motion by the Government.



      The Defendant was sentenced before this Court on June 13, 2005 to the custody
of the Bureau of Prisons for a term of 240 months followed by 10 years of supervised
release with conditions.



      On October 5, 2006, the Government filed a Motion for Reduction of Sentence
Pursuant to Rule 35 of the Federal Rules of Criminal Procedure (ECF DKT #44).



      In its memorandum, the Government restates the terms of the plea agreement
 Case: 5:05-cr-00056-CAB Doc #: 45 Filed: 11/02/06 2 of 3. PageID #: 185




which calls for a 3 level reduction for acceptance of responsibility and a 4 level
reduction for substantial assistance. The plea agreement provided, however, that the
reduction for substantial assistance would not take place until the completion of the
Defendant’s cooperation (Para 17 - Jones Plea Agreement).



       As a result of the Defendant’s cooperation with the Government, an indictment
was returned against individuals charged with Conspiracy to Possess and Distribute 5
Kilograms or More of Cocaine. Over 50 kilograms of cocaine and in excess of one
million dollars ($1,000,000) was seized.



       The Government motions the Court to grant its request for a four (4) level
reduction for Defendant’s substantial assistance as contemplated in the plea
agreement. If the Government’s motion is granted, the Defendant’s adjusted offense
level for the Guidelines would be 29 with a Criminal History Category II, resulting in an
advisory range of 97-121 months. On October 31, 2006, counsel for defendant, Michael
Boske, notified the Court via telephone that the defense has no objections to the
Government’s motion and makes no recommendation to the Court as to what the
amended sentence should be.



       The Court has considered the Defendant’s substantial assistance to the
Government, in addition to the Guideline range and § 3553(a) factors reviewed and
discussed in the Defendant’s original sentence. The Court incorporates those
comments and findings in this Amended Judgment. The Court grants the Government’s
Motion for a Reduction in Sentence.



       The Court finds that during the prosecution of the Dede Drug Trafficking
Organization (DTO), two cooperating individuals advised the Government that after
Defendant Jone’s arrest, prior to his federal indictment and while he was on bond,
Jones warned at least two members of the Dede DTO that law enforcement was
 Case: 5:05-cr-00056-CAB Doc #: 45 Filed: 11/02/06 3 of 3. PageID #: 186




targeting members of the Dede DTO and they should “lay low.”



      The Court further finds that Defendant and his wife received thousands of dollars
from the Dede DTO for attorney fees and support in an attempt to keep Defendant from
cooperating. Defendant never disclosed this information to law enforcement.



      It is the Amended Judgment of this Court that the Defendant, Dante Jones, is
committed to the Bureau of Prisons for a term of 121 months, with credit for time
already served in this matter. An Amended Judgment and Commitment shall issue.



      IT IS SO ORDERED.



                                               s/Christopher A. Boyko
                                               Christopher A. Boyko
                                               United States District Judge


DATE: November 2, 2006
